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                                     UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS
                                             MCALLEN DIVISION

IN RE: Ortiz, Felipe                                                        CASE NO.
       Ortiz, Luz Adriana


                                        Uniform Plan and
                                 Motion for Valuation of Collateral

                                               CHAPTER 13 PLAN
                                     Date of Plan:
                              [Date Must be Date that This Plan is Signed by Debtors]

1.   Statement of Inclusion of Specific Provisions. The Debtor(s) propose this Plan pursuant to 11 U.S.C. § 1321.
The Debtor(s) disclose whether this Plan includes certain provisions by checking the appropriate box:

                            Description of Provision                                 Included             Not
                                                                                                       Included
 A. A “non-standard” provision contained in Paragraph 29.                                ❑                 ✔
                                                                                                           ❑
                                                                                                           ✔
 B. A provision limiting the amount of a secured claim based on a valuation of
 the collateral for the claim in Paragraph 11 or 14.                                     ❑                 ❑
C. A provision avoiding a security interest or a lien in Paragraph 8(C).                 ❑                 ✔
                                                                                                           ❑
D. A provision avoiding a security interest or lien in exempt property in                ❑                 ✔
                                                                                                           ❑
Paragraph 15.

2.    Summary Attached. Attached as Exhibit “A” is a summary of the payments to the Chapter 13 Trustee
(“Trustee”) and the estimated disbursements to be made by the Trustee under this Plan.

3.    Motion for Valuation of Secured Claims. If indicated in Paragraph 1B of this Plan, the Debtor(s) move to
establish the value of the collateral securing claims in the amount set forth in Paragraphs 11 and 14. The Debtor(s)
propose to pay the holder of the Secured Claim only the amounts set forth in the Debtor(s)’ Plan. The Court will
conduct an evidentiary hearing on this contested matter on the date set for the hearing on confirmation of the
Debtor(s)’ Plan. You must file a response in writing not less than 7 days (including weekends and holidays) before
the hearing on confirmation of the Plan or the valuation set forth in the Plan may be adopted by the Court. If no
timely response is filed, the Debtor(s)’ sworn declaration at the conclusion of this Plan will be considered as
summary evidence at the confirmation hearing.

4.    Payments. The Debtor(s) must submit all or such portion of their future earnings and other future income to
the supervision and control of the Trustee as is necessary for the execution of the Plan. The applicable
commitment period under the Debtor(s)’ means test is     36      months (use “unavailable” if a means test has not
been filed). The amount, frequency, and duration of future payments to the Trustee are:
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     Beginning                     Ending            Total Amount            Monthly                    Total               Monthly        Total
      Month1                       Month              of Monthly             Savings                  Forecast           Available for Available for
                                                       Payment2            Fund Deposit               Savings            Creditors and Creditors and
                                                                                                       Fund                Reserve       Reserve
                                                                                                      Deposits              Funds3        Funds

   1 (Jan/2020)                     60                    $1,225.00                  $50.00             $3,000.00              $1,175.00            $70,500.00
                                (Dec/2024)
                                                       Grand Total:                                     $3,000.00                                   $70,500.00


     1
          This is the month in which the first payment is due for this amount. The Debtor(s) must commence payments not later than 30 days after the petition date.

     2
          The total amount of monthly payment includes savings and reserves.

     3
          Reserve funds are funds established under Paragraph 23 of this Plan.

   A.     If the payments to be made by the Trustee pursuant to Paragraphs 8(A)(ii) or 11(D) are adjusted in
accordance with the Home Mortgage Payment Procedures defined and adopted pursuant to Bankruptcy Local Rule
3015-1(b) (whether on account of a change in any escrow requirement, a change in the applicable interest rate
under an adjustable rate mortgage, or otherwise) or in accordance with the procedures set forth in Paragraphs 20(E)
or 23(B), the payments to the Trustee under this Plan will be modified as follows:
   (i)   The Debtor(s)’ payments required by Paragraph 4 of this Plan will be automatically increased or decreased
   by (i) the amount of the increase or decrease in the Paragraph 8(A)(ii), 11(D), 20(E) or 23(B) payments; and (ii)
   the amount of the increase or decrease in the Posted Chapter 13 Trustee Fee that is caused by the change.
   (ii)       The Posted Chapter 13 Trustee Fee is the percentage fee established by the Court and posted on the
   Court’s web site from time to time 4.

     4
          The Posted Chapter 13 Trustee Fee does not alter the amount of the actual trustee fee established under 28 U.S.C. § 586(e)(1).

   (iii) If a change pursuant to Paragraph 4(C), 8(a)(ii), 11(D), 20(E) or 23(B) is made and the monthly payment
   adjustment multiplied by the number of remaining months in the Plan is less than $100, the payment
   adjustments required by Paragraph 4(A) will not be made.

   B.   If a Notice of Plan Payment Adjustment is required by Paragraph 8(a)(iii), the Debtor(s)' payments required
by Paragraph 4 of this Plan will be automatically increased by the amount of the adjustment.

    C.    Subject to an Order to the contrary, if the on-going monthly mortgage payment referenced in a timely
filed proof of claim differs from the on-going monthly mortgage payment scheduled in this Plan, the Trustee shall
adjust the plan payment in order to reflect the on-going monthly mortgage payment amount provided for in the
proof of claim.

    D.    If a secured or priority proof of claim is not timely filed, the amounts scheduled in this Plan will govern. If
a secured or priority proof of claim is timely filed after confirmation of this Plan, the amounts shown on the timely
filed proof of claim will govern. The procedures in Paragraph 4(C) govern monthly mortgage payment amounts.

   E.    In the event of a change in the monthly payment to the Trustee under this Plan, the Trustee is directed to
submit an amended wage withholding order or to amend any automated bank draft procedure to satisfy the
automatic increase or decrease. The Debtor(s) must implement any appropriate amendments to any other form of
payment.




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   F.    Nothing in this Paragraph 4 precludes the Trustee from seeking to dismiss a case based on a timely filed
proof of claim that renders this Plan deficient.

5.     Priority Claims for Domestic Support Obligations. From the payments made by the Debtor(s) to the Trustee,
the Trustee shall pay in full all claims entitled to priority under 11 U.S.C. § 507(a)(1). If a timely proof of claim is
filed, the actual amount of the Domestic Support Obligation will be determined through the claims allowance
process. Otherwise, the amount scheduled in this Plan will control:

     Name of Holder of Domestic Support           Claim        Interest Rate Under   Amount of    First Payment   Last Payment   Total
                 Obligation                                            Plan          Estimated        of this        of this
                                                                                      Periodic     Amount in       Amount in
                                                                                      Payment          Mo. #          Mo. #


6.         Priority Claims (Other than Domestic Support Obligations.)

   From the payments made by the Debtor(s) to the Trustee, the Trustee shall pay in full all claims entitled to
priority under 11 U.S.C. §§ 507(a)(2) through 507(a)(10). If a timely proof of claim is filed, the actual amount of the
Priority Claim will be determined through the claims allowance process. Otherwise, the amount scheduled in this
Plan will control:

      A.

     Name of Holder of Priority Claim    Amount of        Interest Rate Under Plan   Amount of    First Payment   Last Payment   Total
                                        Priority Claim                                Periodic        of this        of this
                                                                                      Payment      Amount in       Amount in
                                                                                                       Mo. #          Mo. #

 Oliva, Marcos D                             $3,376.00                       0.00%     Pro-Rata        1              37         $3,376.00


   B.    Priority Claims arising under 11 U.S.C. § 503(b)(2) shall be paid only after entry of an order by the
Bankruptcy Court approving payment of the claim. If this case is dismissed, no Priority Claim arising under 11
U.S.C. § 503(b)(2) shall be allowed unless an application for allowance is filed on or before 21 days after entry of
the order of dismissal, and such application is subsequently granted by the Court.

7.    Secured Claims for which Collateral is Surrendered. The Debtor(s) surrender the following collateral under
this Plan:

                       Name of Creditor                                                   Description of Collateral


   A.     Upon confirmation of this Plan, the Debtor(s) surrender the collateral and the automatic stay under 11
U.S.C. § 362(a) is terminated as to actions against any (i) collateral that is described in the preceding table; and (ii)
escrow deposit held by the holder of a security interest to secure payment of taxes and insurance. The automatic
stay is not terminated under this Paragraph as to any other action. The co-debtor stay under 11 U.S.C. § 1301(a) is
terminated with respect to the collateral identified in the preceding table.

    B.   Other than terminating the co-debtor stay, this Plan does not affect any codebtor’s rights in the collateral
or the obligation of any secured creditor to act with respect to such a co-debtor in compliance with applicable
non-bankruptcy law.

  C.    The Debtor(s) and the creditor asserting a security interest against the collateral must comply with
Bankruptcy Local Rule 6007-1 with respect to the surrender of the collateral.




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   D.     The rights of a secured creditor to a deficiency claim will be determined (i) in accordance with the
creditor’s allowed unsecured claim in any timely filed proof of claim; or (ii) by separate Court order

8.   Secured Claim for Claim Secured Only by a Security Interest in Real Property that is the Debtor(s)’ Principal
Residence (Property to be Retained). For each such claim, utilize either A, B, or C, below:

✔
❑         A.    This table sets forth the treatment of certain classes of secured creditors holding a claim secured only
          by a security interest in real property that is the Debtor(s)’ principal residence located at 2007 Obra Dorado
          Mission, TX 78572.

 Name of Holder of Secured Claim /              Claims       Plan Interest          Monthly Payment Amount                 Starting      Ending             Total
 Security for Claim                                              Rate                                                      Month #       Month #
                                                                                   P&I         Escrow          Total

 Carrington Mortgage Services

 Security for Claim
 HARMONY ESTATES PH 1 LOT 75
 2007 Obra Dorado Mission, TX 78572

 Cure Claim6                                 $11,904.19      0.00 %              Pro-Rata                    Pro-Rata          1            37               $11,904.19

 Rule 3002.1(c) Amount

 Monthly Mtg. Payment7                       $79,246.10      0.00 %               $308.83        $364.18       $673.01         1            60              $40,380.60

 Total Debt Claim



      6
        In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim that will be fully paid during the term of the
      proposed Plan. As to each claim secured by a security interest, the Debtor(s) must propose either (i) a Cure Claim and a monthly mortgage payment; (ii) a
      Total Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthly Mortgage Payment. The amount shown as “Cure Claim” should be equal to
      the total of all amounts required to cure the mortgage.

      7
          Including principal, interest, and escrow.

          (i) Payment of these amounts will constitute a cure of all defaults (existing as of the petition date) of the
          Debtor(s)’ obligations to the holder of the secured claim.
          (ii)   A claim secured only by a security interest in real property that is the Debtor(s)’ principal residence
          (other than the Cure Claims or Total Debt Claim set forth in the above table) will be paid in accordance with
          the pre-petition contract. The claim includes all amounts that arise post-petition and that are authorized
          pursuant to FED. R. BANKR. P. 3002.1. During the term of the Plan, these payments will be made through
          the Trustee in accordance with the Home Mortgage Payment Procedures adopted pursuant to Bankruptcy
          Local Rule 3015-1(b). Each holder of a claim that is paid pursuant to this Paragraph must elect to either (i)
          apply the payments received by it to the next payment due without penalty under the terms of the holder’s
          pre-petition note; or (ii) waive all late charges that accrue after the order for relief in this case. Any holder
          that fails to file an affirmative election within 30 days of entry of the order confirming this Plan has waived
          all late charges that accrue after the order for relief in this case. Notwithstanding the foregoing, the holder
          may impose a late charge that accrues following an event of default of a payment due under Paragraph 4 of
          this Plan.




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       (iii) Except as otherwise ordered by the Court, any amounts due as a result of the filing of a Rule 3002.1(c)
       Notice shall be paid after payment of all other secured and priority claims, but before payment of all general
       unsecured claims. If the payment of the amounts due under a Rule 3002.1(c) Notice would render the Plan
       deficient because of a shortfall of available funds, the Trustee must file a Notice of Plan Payment
       Adjustment to provide sufficient funds to pay all secured and priority claims in full.
       (iv)         Each claim secured by a security interest is designated to be in a separate class.
       (v)  The Debtor(s) must timely provide the information required by the Trustee pursuant to the Home
       Mortgage Payment Procedures.

❑ B. The holder of the claim secured only by a security interest in real property that is the Debtor(s)’ principal
residence has agreed to refinance the security interest and claim on the terms set forth on the document attached
as Exhibit “B”. The refinancing brings the loan current in all respects. The terms of the loan that is being refinanced
and the new loan are described below:

❑ C. The following table sets forth the treatment of certain classes of secured creditors holding a claim
secured only by a security interest in real property that is the Debtor(s)’ principal residence.


     (i)   The Debtor(s) allege that the total amount of debt secured by liens that are senior in priority to the lien
     held by exceeds the total value of the principal residence. Accordingly, the claim will receive (i) no
     distributions as a secured claim; and (ii) distributions as an unsecured claim only in accordance with
     applicable law.
     (ii) Upon the Debtor(s)’ completion of all payments set forth in this Plan, the holder of the lien is required to
     execute and record a full and unequivocal release of its liens, encumbrances and security interests secured by
     the principal residence and to provide a copy of the release to the Debtor(s) and their counsel.
     Notwithstanding the foregoing, the holder of a lien that secures post-petition homeowners’ association fees
     and assessments will be allowed to retain its lien, but only to secure (i) post-petition assessments; and (ii) other
     post-petition amounts, such as legal fees, if such other post-petition amounts are (a) incurred with respect to
     post-petition fees and assessments; and (b) approved by the Court, if incurred during the pendency of the
     bankruptcy case.
     (iii)     This Paragraph 8C will only be effective if the Debtor(s) perform each of the following:
              (a)      Mail a “Lien Stripping Notice,” in the form set forth on the Court’s website, to the holder of the
                       lien that is governed by this Paragraph 8C. The Lien Stripping Notice must be mailed in a
                       separate envelope from any other document. Service must be in a manner authorized by FED.
                       R. BANKR. P. 7004.
              (b)      File a certificate of service at least 7 days prior to confirmation reflecting that the Lien
                       Stripping Notice was mailed by both certified mail, return receipt requested and by regular US
                       mail to the holder of the lien on all of the following, with the mailings occurring not later than
                       31 days prior to the hearing on this Plan:
                       The holder at the address for notices shown on any proof of claim filed by the holder and in
                       accordance with FED. R. BANKR. P. 7004.
                       Any attorney representing the holder who has filed a request for notice in this bankruptcy case.
     (iv)  Third party costs incurred on behalf of the Debtor(s) such as the costs of performing a title or lien search
     or serving the motion and notices will be borne by the Debtor(s). If such third party costs are advanced by
     Debtor(s)’ counsel, the Debtor(s) must promptly reimburse such costs, without the need for any further
     application or order.




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9.    Debt Incurred (a) within 910 Days Preceding Petition Date and Secured by a Lien on a Motor Vehicle or (b)
within 1 Year Preceding Petition Date and Secured by Other Collateral for Which Full Payment, with Interest, is
Required by 11 U.S.C. § 1325(a)(9) (hanging Paragraph). The following table sets forth each class of creditors
holding a claim for a debt incurred within 910 days preceding the petition date and secured by a security interest
on a motor vehicle or for a debt incurred within 1 year preceding the petition date and secured by a security
interest on other collateral for which full payment is required by 11 U.S.C. § 1325(a)(9) (hanging Paragraph).

 Name of Holder of Secured Claim                                          Claim         Plan Interest       Monthly         Starting       Ending             Total
 Security for Claim                                                                         Rate            Payment         Month #        Month #
                                                                                                            Amount



       8
         In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim that will be fully paid during the term of the
       proposed Plan. As to each claim secured by a security interest, the Debtor(s) must propose either (i) a Cure Claim and a Monthly Contract Payment; (ii) a
       Total Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthly Contractual Payment.

    A.    Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date
this Plan is confirmed) of the Debtor(s)’ obligations to the holder of the claim. If the monthly payment in the
proposed Plan is less than the amount of the adequate protection payment ordered in this case, the actual
payment will be the amount of the monthly adequate protection payment.

      B.      Each claim secured by a security interest is designated to be in a separate class.

10.         Secured Debts on Which There is No Default and to be Paid Directly by the Debtor(s).

   A.     The claims held by the following secured creditors will be paid by the Debtor(s) (and not paid through the
Trustee) in accordance with the pre-petition contracts between the Debtor(s) and the holder of the claim secured by
a security interest:

 Name of Holder                                 Total Claim on             Collateral Value on          Contract Interest          Monthly         Date Last Payment
 Collateral for Claim                            Petition Date               Petition Date                   Rate                  Payment               is Due


      B.      Each claim secured by a security interest is designated to be in a separate class.

11.   Other Secured Claims (Property to be Retained). Payments on these claims will be made through the
Trustee. The secured claims treated by this Paragraph are in the following table:

 Name of Holder of            Claims           Collateral      Plan Interest         Monthly Payment Amount                 Starting       Ending             Total
 Secured Claim                                  Value              Rate                                                     Month #        Month #
 Security for Claim                                                                 P&I         Escrow9         Total



       9
         Only applicable if an escrow for ad valorem taxes or property insurance has been required by the holder of the security interest. If the collateral is a vehicle
       or other personal property, the “Escrow” amount should be $0.00.
       10
          In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim that will be fully paid during the term of the
       proposed Plan. As to each claim secured by a security interest, the Debtor(s) must propose either (i) a Cure Claim and a Monthly Contract Payment; (ii) a
       Total Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthly Contractual Payment.




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    A.     The amount of secured claim to be paid under this Plan is the lesser of the amount listed above as the
“Collateral Value” and the allowed amount of the claim. If a timely proof of claim is filed, the amount of the claim
will be determined through the claims allowance process. Otherwise, the amount scheduled in this Plan will
control. If the Court orders a different amount than is shown above as “Collateral Value,” the Plan shall be deemed
amended to reflect that Collateral Value without the requirement of the filing of an amended Plan.

    B.    The amount listed as “Escrow” will be adjusted to reflect 1/12th of the annual ad valorem taxes and
property insurance that is escrowed. If there is an escrow shortage (for a RESPA Reserve or otherwise), the shortage
is included in the Cure Claim listed above.

    C.    Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date
this Plan is confirmed) of the Debtor(s)’ obligations to the holder of the secured claim. If the monthly payment in
the proposed Plan is less than the amount of the adequate protection payment ordered in this case, the actual
payment will be the amount of the monthly adequate protection payment.

    D.    If the pre-petition loan documents include a provision for an escrow account, the actual monthly payment
is adjustable only in accordance with this Paragraph. The Home Mortgage Payment Procedures must be followed,
even though the claims treated in this Paragraph are not secured by the Debtor(s)’ principal residence.

      E.      Each claim secured by a security interest is designated to be in a separate class.

12.     Modification of Stay and Lien Retention. The automatic stay is modified to allow holders of secured claims
to send the Debtor(s): (i) monthly statements; (ii) escrow statements; (iii) payment change notices; and (iv) such
other routine and customary notices as are sent to borrowers who are not in default. The preceding sentence does
not authorize the sending of any (i) demand letters; (ii) demands for payment; (iii) notices of actual or pending
default. The holder of an Allowed Secured Claim that is proposed to be paid under this Plan shall retain its lien
until the earlier of (i) the payment of the underlying debt as determined under nonbankruptcy law; or (ii) the entry
of a discharge under 11 U.S.C. § 1328. The holder of a claim secured by a valid lien may enforce its lien only if
the stay is modified under 11 U.S.C. § 362 to allow such enforcement.

13.     Maintenance of Taxes and Insurance. The Debtor(s) must pay all ad valorem property taxes on property that
is proposed to be retained under this Plan, with payment made in accordance with applicable non-bankruptcy law
not later than the last date on which such taxes may be paid without penalty. The Debtor(s) must maintain
insurance on all property that serves to secure a loan and that is proposed to be retained under this Plan, as
required by the underlying loan documents. This Paragraph 13 does not apply to the extent that taxes and
insurance are escrowed. Any holder of a secured claim may request in writing, and the Debtor(s) must promptly
provide proof of compliance with this Paragraph. If the Debtor(s) fail to provide such proof within 30 days of receipt
of a written request, the holder of the debt secured by a lien on the property may purchase such insurance or pay
such taxes in accordance with its rights under applicable non-bankruptcy law. Unless otherwise ordered by the
Court, payment under this Paragraph may not be undertaken by a transfer of the tax lien on the property

14.        Secured Claims Satisfied by Transfer of Real Property in Satisfaction of Secured Claim.

         A.    The secured claims set forth in this table will be satisfied by the transfer of title to the real property from
      the Debtor(s) to the transferee identified below.

        Priority                Name and Address of Holder of Security Interest            Estimated Claim of Lien Holder

 First Lien

 Second Lien

 Third Lien




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      Priority                         Name and Address of Holder of Security Interest                                  Estimated Claim of Lien Holder

 Fourth Lien


           B.      The Transferee is                                               .

        C.         The value to be credited to the Transferee’s claim secured by the lien is:

                Value of Property
                Total amounts owed to all holders of senior liens
                Net value to be credited by Transferee

        D.         The address and legal description of the property to be transferred is                                                     .

      E.    This Paragraph applies only if 100% of the property to be transferred is included in the estate under 11
   U.S.C. § 541(a), including without limitation community property included in the estate by 11 U.S.C. §
   541(a)(2).

           F.      On or after the 30th day following entry of an order confirming this Plan:
        (i)   The Debtor(s) shall file as soon as practicable, a Notice of Transfer Pursuant to Bankruptcy Plan in the
        real property records of the County in which the property is located. A Notice of Transfer Pursuant to
        Bankruptcy Plan that attaches a certified copy of this Plan and a certified copy of the Order confirming this
        Plan shall, when filed with a legal description of the property in the real property records of the County in
        which the property is located, constitute a transfer of ownership of the property to the holder of the Secured
        Claim. The transfer will be effective upon the later to occur of (i) the filing of the Notice of Transfer Pursuant
        to Bankruptcy Plan that attaches a certified copy of this Plan and a certified copy of the Order confirming the
        Plan in the real property records of the applicable County; or (ii) if the Order is stayed pending appeal, the
        termination of the stay.
        (ii)   The transferee of the transferred property must credit its claim with the Net Value to be credited by
        Transferee as shown in the preceding table (unless a different amount is ordered by the Court at the
        confirmation hearing on this Plan), not to exceed the balance owed on the claim on the date of the transfer.
        If the transfer is to the holder of a junior lien, the transfer is made subject to all senior liens. The holder of
        any senior lien may exercise its rights in accordance with applicable non-bankruptcy law. If the transfer is to
           the holder of a senior lien, the transfer is free and clear of the rights of the holder of any junior lien.11


      11
           The property may not be transferred to the holder of an oversecured senior lien if there is a junior lien.

        (iii)  The senior liens must be satisfied, if at all, out of the property in accordance with applicable
        non-bankruptcy law. The transfer to the transferee and the relief granted by this Paragraph are in full
        satisfaction of the Debtor(s)’ obligations to any holder of a security interest that is senior in priority to the
        security interest held by the transferee. No further payments by the Debtor(s) are required.
        (iv)  The automatic stay is modified to allow any holder of a security interest or other lien on the property to
        exercise all of its rights against the property in accordance with applicable non-bankruptcy law

           G.      Notwithstanding the foregoing Section F:
        (i)   At its sole election prior to the 30th day following entry of an order confirming this Plan, the transferee
        may demand in writing, and the Debtor(s) must execute, a special warranty deed transferring the property to
        the transferee.




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         (ii)  At its sole election prior to the 30th day following entry of an order confirming this Plan, the transferee
         may elect in writing to foreclose its security interest in the subject property. Any foreclosure must be
         completed within 90 days following entry of an order confirming this Plan. This Plan, the order confirming
         this Plan and a proper election hereunder constitute a judicial authorization to proceed to foreclose to the
         extent required under applicable law. If an election is made under this subsection, the transferee shall be
         responsible for all loss associated with the property and all charges, liens, fees, etc. against the property from
         the 30th day following entry of an order confirming this Plan.
         (iii)      If a proper demand is made under this Section G, the provisions of Section F(i) are not applicable

         H.     On and after the date on which the title to the real property (as reflected in the real property records) is
      not held by the Debtor(s), and except as otherwise agreed in writing between the Debtor(s) and the holder of the
      entity to which the property has been transferred, the Debtor(s) will immediately vacate the property.

         I.    The third party costs incurred on behalf of the Debtor(s) to obtain a lien search or title report and to file
      the Notice and certified copies will be borne by the Debtor(s). If such third party costs are advanced by Debtor(s)’
      counsel, the Debtor(s) must promptly reimburse such costs.

          J.   The Debtor(s) must file a certificate of service at least 7 days prior to Plan confirmation reflecting that a
      copy of this Plan was mailed by both certified mail, return receipt requested and by regular US mail to all of the
      following, with the mailings to have occurred not later than 31 days prior to the hearing on this Plan to:
             (i) Any attorney representing the holder of any security interest against the property who has filed a
             request for notice in this bankruptcy case.
             (ii)  The holder of any security interest against the property, in accordance with FED. R. BANKR. P. 7004
             and the address for notice shown on any proof of claim filed by a holder. The identities of the holders
             must be identified from the deeds of trust filed in the real property records.

15.    Secured Claims on Which Lien is Avoided Under 11 U.S.C. § 522(f). To the extent that the property
described in this Paragraph is exempted under 11 U.S.C. § 522(b)(1), the following secured claims are avoided
pursuant to 11 U.S.C. § 522(f) of the Bankruptcy Code. The only amount securing any such avoided lien is the
lesser of (i) the amount shown as Remaining Value in this table; and (ii) the amount of the Allowed Claim secured
by the lien:

                  Description of Property                Value of       Amount of Secured Claims             Amount of         Remaining
            Name and Address of Secured Creditor         Property      Senior to Secured Claim to be      Claim as Exempt        Value
                                                                                  Avoided


16.       Specially Classified Unsecured Claims. The following unsecured claims will be treated as described below:

                 Name of Unsecured Creditor                           Treatment and Reason for Special Classification


17.     Unsecured Claims. Unsecured creditors not entitled to priority and not specially classified in Paragraph 16
shall comprise a single class of creditors. Allowed claims under this Paragraph 17 shall be paid a pro rata share of
the amount remaining after payment of all secured, priority, and specially classified unsecured claims.

18.    Executory Contracts. Except as set forth elsewhere in this Plan or in the following sentence, all executory
contracts are rejected. The following contracts are assumed with the amount and timing of any cure payments as
shown:

       Parties to               Amount of Cure          Cure to be Made Directly by the Debtor(s) in equal Monthly Installments of this
       Executory                 ($0.00 if none)        Amount, with the First Installment Due on the 30th Day Following Entry of the
       Contract                                                                       Confirmation Order




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Case No:
Debtor(s): Ortiz, Felipe , Ortiz, Luz Adriana

19.    Asset Sales. The Debtor(s) are authorized—without the need for further Court order (except as provided by
FED. R. BANKR. P. 2014 if applicable)—to sell their exempt property in accordance with this Paragraph. Any such
sale shall provide for the full payment, at closing, of all liens on the property that is sold. If the Debtor(s) request
and the Court so determines, an order confirming this authority may be granted by the Court, ex parte. Within 14
days following the closing of any sale of real property pursuant to this Paragraph, the Debtor(s) must provide to the
Trustee a copy of the final closing statement. Any non-exempt proceeds received from the sale must be paid to the
Trustee. Unless the sale was privately closed, the closing statement must be the statement issued by the title
company or closing agent handling the sale. If the property that was sold was exempted as a homestead solely
under Texas law, any proceeds of the sale that are not reinvested in a qualifying Texas homestead within 6 months
of the closing of the sale must be paid to the Trustee within 14 days after the expiration of the 6-month period. If
only a 15 portion of the proceeds are reinvested in a qualifying Texas homestead prior to the expiration of the
6-month period, the balance of the proceeds must be paid to the Trustee within 14 days of the closing.

20.      Surrender of Collateral during the Plan Period.

         A.     The Debtor(s) may surrender collateral to a secured creditor after confirmation of the Plan by filing a
      Surrender Notice in the form set forth on the Court’s website. The Surrender Notice will be effective upon the
      expiration of 21 days from the date that it is filed; provided, if an objection to the Surrender Notice is filed
      within the 21-day period, the Surrender Notice will become effective only upon entry of a Court order approving
      the Surrender Notice (the “Effective Date”). If a timely objection is filed, the Trustee will schedule the Surrender
      Notice for hearing on the next available Chapter 13 panel date. On the Effective Date, the automatic stay under
      11 U.S.C. § 362(a) and the co-debtor stay under 11 U.S.C. § 1301(a) are terminated as to actions against
      surrendered property. The automatic stay is not terminated under this Paragraph as to any other action.

         B.    Bankruptcy Local Rule 6007-1 applies to the surrender of property under this Plan.

          C.    Other than terminating the co-debtor stay, this Plan does not affect any codebtor’s rights in the
      collateral or the obligation of any secured creditor to act with respect to such a co-debtor in compliance with
      applicable non-bankruptcy law.

          D.    If payments on debt secured by the surrendered property were made through the Trustee, a Debtor(s)’
      Proposed Notice of Plan Payment Adjustment, in the form set forth on the Court’s website, must be filed as an
      exhibit to the Surrender Notice. If the Trustee determines that the Debtor’s Proposed Notice of Payment
      Adjustment is materially inconsistent with the following Paragraph, the Trustee must file a Trustee’s Corrected
      Notice of Plan Payment Adjustment. Any such Corrected Notice must be filed within 30 days after the filing of
      the Debtor(s)’ Proposed Notice of Plan Adjustment. The Trustee’s Corrected Notice of Plan Payment Adjustment
      will be binding unless a party-in-interest files a motion and obtains an order to the contrary.

          E.    If the payment on the debt secured by the surrendered property was made through the Trustee, the
      Plan payment will be adjusted. The adjusted payment will be effective with the next payment due to the
      Trustee after the Effective Date. The Plan payment adjustment will be a reduction equal to (i) the sum of (a) all
      remaining principal, interest and escrow payments that are due under this Plan after the Effective Date and
      payable to the holder of the secured debt; plus (b) any Reserves required by Paragraph 23 for the payment of ad
      valorem taxes pertaining to the surrendered property; plus (c) the Posted Chapter 13 trustee fee applicable to
      the sum of such remaining payments of principal, interest, escrow and reserves; divided by (ii) the remaining
      number of monthly payments due under the Plan after the Effective Date. No further ad valorem tax reserves
      will be established on surrendered property.

         F.    On the Effective Date, no additional direct or Trustee payments will be made on the claim secured by
      the surrendered property. The rights of a secured creditor to a deficiency claim will be determined (i) in
      accordance with the creditor’s allowed unsecured claim in any timely filed proof of claim; or (ii) by separate
      Court order.

         G.    Within 14 days of the Effective Date, the Debtor(s) must file an amended Schedule I and J.

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21.   Payments Under Plan. For the purposes of 11 U.S.C. § 1328(a) of the Bankruptcy Code, the Debtor(s) will
have completed all payments under this Plan by:

         A.    Paying all amounts due under Paragraph 4 of this Plan, as adjusted by this Plan; and

         B.    Paying all amounts due as direct payments under this Plan, as adjusted by this Plan.

22.       Emergency Savings Fund.

         A.     Line 21 of Schedule J (the Debtor(s)’ expense budget) includes a provision for an emergency savings
      fund by the Debtor(s). Deposits into the Emergency Savings Fund will be made to the Trustee. Withdrawals from
      the Emergency Savings Fund may be made by application to the Court, utilizing the form application from the
      Court’s website. Withdrawals should be requested only in an emergency. The form application need only be
      served electronically, and only to persons subscribing to the Court’s CM/ECF electronic noticing system. An
      application will be deemed granted on the 15th day after filing unless (i) an objection has been filed; or (ii) the
      Court has set a hearing on the application. The Debtor(s) may request emergency consideration of any
      application filed under this Paragraph. The balance, if any, in the Emergency Savings Fund will be paid to the
      Debtor(s) following (i) the completion of all payments under this Plan; (ii) the dismissal of this case; or (iii) the
      conversion of this case to a case under chapter 7, except under those circumstances set forth in 11 U.S.C. §
      348(f)(2)

         B.    The deposits into the Emergency Savings Fund will be:

  Month of First Deposit of this   Month of Last Deposit of this           Amount                         Total
            Amount                           Amount

                 1                              60                                    $50.00                       $3,000.00

                                                                   TOTAL                                           $3,000.00


          C.    Funds paid to the Trustee will not be credited to the Emergency Savings Fund unless, at the time of
      receipt by the Trustee, the Debtor(s) are current on payments provided for in the Plan that are to be distributed
      to creditors or that are to be reserved under Paragraph 23. After funds have been credited to the Emergency
      Savings Fund, they may only be withdrawn in accordance with this Paragraph.

         D.    The Debtor(s) may file a Notice reflecting any change into the Emergency Savings Fund deposits.
      Unless a party-in-interest objects within 14 days of the filing of the Notice, the Trustee must file a Notice of Plan
      Payment Adjustment to reflect the change.

23.   Reserves for Post-Petition Ad Valorem Taxes, Homeowners Association Fees or Other Periodic
Post-Petition Obligations. (Check One or More):




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     ✔
     ❑        The Debtor(s) do not invoke this provision.

     ❑        The Debtor(s) will reserve for post-petition ad valorem taxes. The amount of each monthly reserve
              is shown on Schedule 2312.

     ❑        The Debtor(s) will reserve for post-petition homeowners’ association fees. The amount of each
              monthly reserve is shown on Schedule 23.

     ❑        The Debtor(s) will reserve for post-petition federal income tax payments. The amount of each
              monthly reserve is shown on Schedule 23.

     ❑        The Debtor(s) will reserve for:                                  .13 The amount of each monthly reserve is shown on
              Schedule 23.


     12
          A Schedule 23 must be attached unless no Reserves are established.

     13
          Reserves may not be established under this Paragraph for the payment of insurance premiums.

       A.    The Debtor(s)’ expense budget shown on Schedule J includes a monthly provision for the payment of
   the post-petition Reserves identified above. The Debtor(s) must deposit the monthly amount shown on Schedule
   J for each of the designated Reserve items with the Trustee. Not less than 45 days before the date on which the
   payment is due to the taxing authority, homeowner’s association or other person, the Debtor(s) must send a
   request to the Trustee, on a form promulgated by the Trustee, requesting a disbursement from the Reserves.
   Copies of the appropriate invoices or tax statements must be attached to the request. Not later than 45 days
   after receipt of an appropriate request, the Trustee must pay the lesser of (i) the amount shown on the invoices
   or tax statements; or (ii) the balance in the applicable Reserve. If the balance in the applicable Reserve is less
   than the amount due, then the Debtor(s) are responsible for payment of the balance due on the invoice or tax
   statements. The Chapter 13 Trustee’s Fee will apply to any disbursements from the Reserves.

      B.    The Debtor(s) must file a Notice reflecting any change of the projected disbursement amount from the
   applicable Reserve. Unless a party-in-interest objects within 14 days thereafter, the Trustee must file a Notice of
   Plan Payment Adjustment to reflect the change.

       C.   Funds paid to the Trustee will not be credited to Reserves unless, at the time of receipt by the Trustee,
   the Debtor(s) are current on payments provided for in the Plan that are to be distributed to the holders of claims.
   If the monthly amount credited to Reserves is less than the total of all monthly Reserves shown above, the
   Trustee will apply the credits to the Reserves pro rata. After funds have been credited to an applicable Reserve,
   they may only be withdrawn in accordance with this Paragraph.

       D.    If this Plan provides for payment of a “Total Debt Claim” on real property and no lender-established
   escrow account is maintained, the Debtor(s) must establish Reserves under this Paragraph for the payment of ad
   valorem taxes. If the Debtor(s) subsequently surrender the real property, or if the automatic stay is terminated as
   to the real property, the amount of Reserves for taxes on such property will be paid by the Trustee, without
   further Court Order, to the holder of the claim secured by the most senior security interest against the real
   property.

      E.     Upon completion of all payments under this Plan, the remaining balance on hand in the Reserves will
   be paid to the Debtor(s).




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24.     Effect of a Motion to Convert to Chapter 7. If, during the term of this Plan, the Debtor(s) file a motion to
convert this case to a case under Chapter 7 of the Bankruptcy Code, the motion may be included with a request to
distribute to Debtor(s)’ counsel the lesser of (i) the amount agreed between the Debtor(s) and Debtor(s)’ counsel; and
(ii) $750.00. If a motion to convert to chapter 7 has been filed and not yet granted by the Court, the Trustee must,
within 35 days of the date on which the motion was filed, distribute any remaining funds (exclusive of Reserves and
Emergency Savings Funds) (i) first to pay any unpaid adequate protection payments due to the holders of secured
claims; and (ii) thereafter, the amount requested (not to exceed $750.00) to Debtor’s counsel for post-conversion
services. Any amounts so distributed are subject to disgorgement if ordered by the Court. A motion to convert filed
pursuant to this Paragraph 24 must be filed with a proposed order, in the form published on the Court’s website.
The Order, if submitted in accordance with this Paragraph, may be issued ex parte and without notice.

25.      Presence or Absence of a Proof of Claim.

         A.     Secured and priority claims provided for in this Plan will be paid without the necessity of the filing of a
      proof of claim. If this Plan sets the amount of a monthly payment, monthly payments will be adjusted in
      accordance with the Court’s Home Mortgage Payment Procedures as applied by Paragraphs 8 and 11 of this
      Plan.

         B.      Unless otherwise ordered by the Court (and subject to the claims objection process), the amounts shown
      on a timely filed proof of claim govern as to (i) the amount of that claim, (ii) the amount of any cure amount;
      and (iii) the amount of any monthly payment, which monthly payment is subject to adjustment in accordance
      with the Court’s Home Mortgage Payment Procedures as applied by Paragraphs 8 and 11 of this Plan.

         C.     Regardless of the filing of a proof of claim, the valuation in this Plan of the collateral securing a claim
      controls over any contrary proof of claim.

         D.     A determination made under this Plan as to a claim does not constitute an order allowing or
      disallowing a claim against the estate for purposes of Rule 3008 or otherwise.

        E.    Unless the Court orders otherwise, no general unsecured claim will be paid unless a proof of claim has
      been timely filed.

         F.    The payment of Debtor(s)’ attorney's fees are not governed by this Paragraph.

         G.     No creditor, before or after completion of the Plan, shall be allowed to collect any payments, costs,
      fees, or expenses, from the Debtor(s), the estate, or their property, that are not provided for in this Plan.

26.   Discharge and Vesting of Property. The Debtor(s) will be granted a discharge in accordance with 11 U.S.C. §
1328. Property of the estate shall vest in the Debtor(s) upon entry of the discharge order.

27.      Effect of Dismissal. If this case is dismissed:

         A.    Except for Paragraph 27(B), this Plan is no longer effective.

         B.    Any funds received by the Trustee after entry of the order of dismissal will be paid to the Debtor(s).

28.     Plan Not Altered from Official Form. By filing this Plan, Debtor(s) and their counsel represent that the Plan is
in the official form authorized by the Court. There are no addenda or other changes made to the official form,
except those contained in Paragraph 29.

29.      Non-standard Provisions.




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Except for provisions contained in Paragraph 29, any provision not contained in the approved Southern District of
Texas Chapter 13 Plan is void. Any provision contained in this Paragraph 29 is void unless Paragraph 1 of this
Plan indicates that a non-standard provision has been included in this Plan.
                                                         Submitted by

                                                                                 /s/ Felipe Ortiz
                                                          Debtor Signature

                                                                             /s/ Luz Adriana Ortiz
                                                          Joint Debtor Signature

                                                                               /s/ Marcos D. Oliva
                                                          Marcos D. Oliva
                                                          Marcos D. Oliva, PC
                                                          State Bar No.: 24056068
                                                          Marcos D. Oliva
                                                          223 W Nolana Ave
                                                          Mcallen, TX 78504-2500
                                                          (956) 683-7800 ph.
                                                          marcos@oliva.law

                                 Debtor(s)’ Declaration Pursuant to 28 U.S.C. § 1746
   I declare under penalty of perjury that the foregoing statements of value contained in this document are true
and correct.

Dated:    01/06/2020                                               /s/ Felipe Ortiz
                                                                Signature of Debtor
Dated:    01/06/2020
                                                                /s/ Luz Adriana Ortiz
                                                             Signature of Joint Debtor




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                                                    Schedule 23

 Month    Ad Valorem Tax Reserve   HOA Reserve   Federal Income Tax Reserve   Other Reserves   Total Reserves This Month

1                                                                                                                    $0.00

2                                                                                                                    $0.00

3                                                                                                                    $0.00

4                                                                                                                    $0.00

5                                                                                                                    $0.00

6                                                                                                                    $0.00

7                                                                                                                    $0.00

8                                                                                                                    $0.00

9                                                                                                                    $0.00

10                                                                                                                   $0.00

11                                                                                                                   $0.00

12                                                                                                                   $0.00

13                                                                                                                   $0.00

14                                                                                                                   $0.00

15                                                                                                                   $0.00

16                                                                                                                   $0.00

17                                                                                                                   $0.00

18                                                                                                                   $0.00

19                                                                                                                   $0.00

20                                                                                                                   $0.00

21                                                                                                                   $0.00

22                                                                                                                   $0.00

23                                                                                                                   $0.00

24                                                                                                                   $0.00

25                                                                                                                   $0.00

26                                                                                                                   $0.00

27                                                                                                                   $0.00

28                                                                                                                   $0.00

29                                                                                                                   $0.00

30                                                                                                                   $0.00

31                                                                                                                   $0.00

32                                                                                                                   $0.00


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 Month    Ad Valorem Tax Reserve   HOA Reserve   Federal Income Tax Reserve   Other Reserves   Total Reserves This Month

33                                                                                                                   $0.00

34                                                                                                                   $0.00

35                                                                                                                   $0.00

36                                                                                                                   $0.00

37                                                                                                                   $0.00

38                                                                                                                   $0.00

39                                                                                                                   $0.00

40                                                                                                                   $0.00

41                                                                                                                   $0.00

42                                                                                                                   $0.00

43                                                                                                                   $0.00

44                                                                                                                   $0.00

45                                                                                                                   $0.00

46                                                                                                                   $0.00

47                                                                                                                   $0.00

48                                                                                                                   $0.00

49                                                                                                                   $0.00

50                                                                                                                   $0.00

51                                                                                                                   $0.00

52                                                                                                                   $0.00

53                                                                                                                   $0.00

54                                                                                                                   $0.00

55                                                                                                                   $0.00

56                                                                                                                   $0.00

57                                                                                                                   $0.00

58                                                                                                                   $0.00

59                                                                                                                   $0.00

60                                                                                                                   $0.00




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                                               Exhibit "A"
                                      Plan Summary for Proposed Plan
                                        Disposable Income and Plan Payments
     (A)             (B)           (C)       (D)      (E)     (F)             (G)                   (H)           (I)
Projected        Projected      Projected Payment Beginning Ending    Payments for the                     3     Total
                                                                                             Savings Fund
 Schedule        Schedule      Disposable Amount to Month #1 Month Benefit of Creditors and     Deposits       Monthly
“I” Income           “J”         Income    Trustee             #                      2                        Trustee
                                                                       for Reserves         Established Under
   (From         Expenses      (Column A                                                     Plan (Column D   Payments
    most           (From          minus                                                     minus Column G) (Column D
  recently          most       Column B)                                                                      multiplied
    filed         recently                                                                                    by number
 Schedule           filed                                                                                     of months
      I)         Schedule                                                                                        paid)
                      J)
 $4,933.42 $3,758.42 $1,175.00 $1,225.00 1                       60      Per Month Total        Per     Total     $73,500.00
                                                                                                Month
                                                                         $1,175.00 $70,500.00 $50.00 $3,000.00
                                                                 Grand             $70,500.00           $3,000.00 $73,500.00
                                                                 Total
                                          Less Posted Chapter 13                   $5,146.50
                                                        4
                                          Trustee Fee
                                          Net Available to Creditors               $65,353.50


                               Projected Trustee Disbursements to Secured Creditors
Name of Holder                                          Claim      Plan Int. Monthly Starting Ending      Total
Description of Collateral                                            Rate Payment Month # Month #
                                                                             Amount
1. Holder’s Name:                                 $79,246.10
 Carrington Mortgage Services
 Treated under Plan Section:
 Sec 8A. - Secured Principal Residence
 Description of Collateral
 HARMONY ESTATES PH 1 LOT 75
2007 Obra Dorado Mission, TX 78572




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Case No:
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Name of Holder                                         Claim       Plan Int. Monthly Starting Ending                Total
Description of Collateral                                            Rate    Payment Month # Month #
                                                                             Amount

 Check one: ❑Surrendered                                              ✔Retained (paid through Trustee)
                                 ❑Transferred ❑Retained (paid direct) ❑
                                                                                                               5


 Cure Claim                                      $11,904.19        0.00 %      Pro-Rata    1        37         $11,904.19
 3002.1(c) Amount
 Monthly Payment                                                               $673.01     1        60         $40,380.60
 Total Debt Claim
 Monthly Refinance Payment (¶ 8B)

                                                                  Total of Payments to Secured Creditors           $52,284.79



   1      This is the month in which the first payment is due for this amount. The Debtor(s) must commence
          payments not later than 30 days after the petition date.
   2      Reserves are established under Paragraph 23 of the Plan.

   3      Savings funds are funds established under Paragraph 22 of the Plan.

   4      The Posted Chapter 13 Trustee Fee is based on the percentage listed on the Court’s website.

   5      Amounts for Cure Claims, Monthly Payments, Total Debt Claims and Monthly Refinance Payments should
          be listed only if the box for “Retained (paid through Trustee)” is checked.

                               Projected Trustee Disbursements to Priority Creditors
       Name of Holder            Nature of Priority     Claim      Int. Rate    Monthly     Beg.    End              Total
                                 (Taxes, Attorneys                              Payment    Month # Month #
                                  Fees, DSO, etc.)                              Amount
1. Holder’s Name:                Attorney Fees        $3,376.00    0.00 %      Pro-Rata    1        37             $3,376.00
 Oliva, Marcos D
 Treated under Plan Section:
Sec 6. - Priority Claims
(Other than Domestic
Support Obligations)

                                                                     Total of Payments to Priority Creditors        $3,376.00


                                          Projected Trustee Reserve Funds
                                           Reserve Fund Type                                                       Total
                                   (Ad Valorem Taxes, Insurance, HOA)
                                                                                  Total of Reserve Funds                $0.00




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                                                     SUMMARY
 1     Total Payments to Trustee                                                                      $73,500.00
 2     Less Total Savings Fund Deposits                                                                $3,000.00
 3     Net Trustee Payments (Line 1 minus line 2)                                                     $70,500.00
 4     Less Posted Chapter 13 Trustee Fee                                                              $5,146.50
 5     Less Total Payments by Trustee to Secured Creditors                                            $52,284.79
 6     Less Total Payments by Trustee to Priority Creditors (§§507(a)(1) – (a)(10))                    $3,376.00
 7     Less Total Reserve Funds                                                                            $0.00
 8     Net Available for General Unsecured Creditors (Line 3 minus lines 4-7)                          $9,692.71


                                   Unsecured Creditor Distribution Estimate
 9     Estimated Total General Unsecured Claims                                                        $8,064.00
 10    Forecast % Dividend on General Unsecured Claims (Line 8 divided by line 9)                      100.00 %


                                         Best Interest of Creditors Test
 11    Total Non-Exempt Property                                                                      $11,171.00
 12    Total Distributions to Administrative, Priority and General Unsecured Creditors (Line 4 plus   $18,215.21
       lines 6 plus line 8 plus any direct payments by Debtor(s) under the Plan in satisfaction of
       prepetition priority claims)




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                                                     Exhibit "A"
                                            Plan Summary for Proposed Plan
                                                         Disposable Income and Plan Payments
      (A)             (B)           (C)         (D)            (E)            (F)                 (G)                            (H)                     (I)
 Projected        Projected      Projected    Payment       Beginning       Ending      Payments for the Benefit    Savings Fund 3 Deposits             Total
  Schedule        Schedule      Disposable   Amount to      Month #1        Month #       of Creditors and for       Established Under Plan            Monthly
 “I” Income           “J”         Income      Trustee                                                    2                                             Trustee
                                                                                              Reserves                 (Column D minus
(From most        Expenses      (Column A                                                                                  Column G)                  Payments
   recently      (From most        minus                                                                                                             (Column D
     filed         recently     Column B)                                                                                                             multiplied
Schedule I)          filed                                                                                                                           by number
                 Schedule J)                                                                                                                         of months
                                                                                                                                                        paid)

                                                                                        Per Month        Total       Per Month           Total
 $4,933.42          $3,758.42    $1,175.00   $1,225.00          1                60                                                                   $73,500.00
                                                                                        $1,175.00     $70,500.00       $50.00          $3,000.00


                                                                          Grand Total                 $70,500.00                       $3,000.00      $73,500.00


                                              Less Posted Chapter 13 Trustee Fee 4                    $5,146.50


                                                    Net Available to Creditors                        $65,353.50



                                             Projected Trustee Disbursements to Secured Creditors
Name of Holder                                                              Claim        Plan Int.   Monthly       Starting      Ending              Total
Description of Collateral                                                                  Rate      Payment       Month #       Month #
                                                                                                     Amount

1. Holder’s Name:                                                        $79,246.10
Carrington Mortgage Services

Treated under Plan Section:
Sec 8A. - Secured Principal Residence
Description of Collateral
HARMONY ESTATES PH 1 LOT 75
2007 Obra Dorado Mission, TX 78572


                                                             ✔ Retained (paid through Trustee)5
Check one: ❑Surrendered ❑Transferred ❑Retained (paid direct) ❑


Cure Claim-3                                                             $11,904.19       0.00 %     Pro-Rata         1            37              $11,904.19


3002.1(c) Amount


Monthly Payment-6                                                                                     $673.01         1            60              $40,380.60


Total Debt Claim


Monthly Refinance Payment (¶ 8B)




                                         Total of Payments to Secured Creditors                                                                  $52,284.79
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   1     This is the month in which the first payment is due for this amount. The Debtor(s) must commence payments not later than 30 days after the petition date.

   2     Reserves are established under Paragraph 23 of the Plan.

   3     Savings funds are funds established under Paragraph 22 of the Plan.

   4     The Posted Chapter 13 Trustee Fee is based on the percentage listed on the Court’s website.

   5     Amounts for Cure Claims, Monthly Payments, Total Debt Claims and Monthly Refinance Payments should be listed only if the box for “Retained (paid through
         Trustee)” is checked.


                                                Projected Trustee Disbursements to Priority Creditors
          Name of Holder                    Nature of Priority             Claim           Int. Rate         Monthly            Beg.          End               Total
                                         (Taxes, Attorneys Fees,                                             Payment           Month #       Month #
                                               DSO, etc.)                                                    Amount

1. Holder’s Name:                              Attorney Fees              $3,376.00         0.00 %           Pro-Rata              1            37            $3,376.00
Oliva, Marcos D

Treated under Plan Section:
Sec 6. - Priority Claims (Other than
Domestic Support Obligations)




                                            Total of Payments to Priority Creditors                                                                         $3,376.00


                                                               Projected Trustee Reserve Funds
                                                            Reserve Fund Type                                                                                Total
                                                    (Ad Valorem Taxes, Insurance, HOA)


                                                                            Total of Reserve Funds                                                          $0.00
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                                                                            SUMMARY
1    Total Payments to Trustee                                                                                                                      $73,500.00

2    Less Total Savings Fund Deposits                                                                                                               $3,000.00

3    Net Trustee Payments (Line 1 minus line 2)                                                                                                     $70,500.00

4    Less Posted Chapter 13 Trustee Fee                                                                                                             $5,146.50

5    Less Total Payments by Trustee to Secured Creditors                                                                                            $52,284.79

6    Less Total Payments by Trustee to Priority Creditors (§§507(a)(1) – (a)(10))                                                                   $3,376.00

7    Less Total Reserve Funds                                                                                                                         $0.00

8    Net Available for General Unsecured Creditors (Line 3 minus lines 4-7)                                                                         $9,692.71


                                                      Unsecured Creditor Distribution Estimate
9    Estimated Total General Unsecured Claims                                                                                                       $8,064.00

10   Forecast % Dividend on General Unsecured Claims (Line 8 divided by line 9)                                                                     100.00 %


                                                              Best Interest of Creditors Test
11   Total Non-Exempt Property                                                                                                                      $11,171.00

12   Total Distributions to Administrative, Priority and General Unsecured Creditors (Line 4 plus lines 6 plus line 8 plus any direct payments by   $18,215.21
     Debtor(s) under the Plan in satisfaction of prepetition priority claims)
